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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
                                                                                   4/21/2023
DIQUAN BOOKER



                                   Plaintiff,                           ORDER
                 - against -                                            22 CIV 2355 (NSR)


SERGEANT SEFMAN,
                                   Defendants.
--------------------------------------------------------------X


Román, D.J.:
                 The Court waives the Initial Pre-trial Conference and directs the parties to jointly

complete a Case Management Plan and Scheduling Order (blank form attached hereto). Said

Scheduling Order shall be filed on the docket by May 12, 2023. After review and approval of the

Scheduling Order, the Court will issue an Order of Reference to Magistrate Judge Judith C.

McCarthy for general pretrial purposes. The parties are directed to contact Judge McCarthy

within seven (7) business days of the date of the Order of Reference to schedule a conference.


                 The Clerk of the Court is kindly directed to provide a copy of this order to pro se

Plaintiff and show service on the docket.


                                                                  SO ORDERED.


Dated:           April 21, 2023
                 White Plains, New York


                                                                  Nelson S. Román, U.S.D.J.
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UNITED STATES DISTRICT COURT                                                   Rev. Jan. 2012

SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x




                                                                 CIVIL CASE DISCOVERY PLAN
                                    Plaintiff(s),                AND SCHEDULING ORDER
          - against -




                                     Defendant(s).                    CV              (NSR)


-------------------------------------------------------------x


 This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation with counsel,
pursuant to Fed. R. Civ. P. 16 and 26(f):


 1.       All parties [consent] [do not consent] to conducting all further proceedings before a
          Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(c). The
          parties are free to withhold consent without adverse substantive consequences. (If all
          parties consent, the remaining paragraphs of this form need not be completed.)


 2.       This case [is] [is not] to be tried to a jury.


 3.       Joinder of additional parties must be accomplished by _______________________.


 4.       Amended pleadings may be filed until _____________________.
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5.    Interrogatories shall be served no later than ___________________, and responses
      thereto shall be served within thirty (30) days thereafter. The provisions of Local Civil
      Rule 33.3 [shall] [shall not] apply to this case.


6.    First request for production of documents, if any, shall be served no later than
      ____________________.


7.    Non-expert depositions shall be completed by ____________________________.


      a.       Unless counsel agree otherwise or the Court so orders, depositions shall not be
               held until all parties have responded to any first requests for production of
               documents.


      b.       Depositions shall proceed concurrently.


      c.       Whenever possible, unless counsel agree otherwise or the Court so orders, non-
               party depositions shall follow party depositions.


8.    Any further interrogatories, including expert interrogatories, shall be served no later than
      _______________________.


9.    Requests to Admit, if any, shall be served no later than ______________________.


10.   Expert reports shall be served no later than ______________________.


11.   Rebuttal expert reports shall be served no later than ______________________.


12.   Expert depositions shall be completed by ______________________.


13.   Additional provisions agreed upon by counsel are attached hereto and made a part hereof.


14.   ALL DISCOVERY SHALL BE COMPLETED BY ______________________.
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15.    Any motions shall be filed in accordance with the Court’s Individual Practices.


16.    This Civil Case Discovery Plan and Scheduling Order may not be changed without leave
       of Court (or the assigned Magistrate Judge acting under a specific order of reference).


17.    The Magistrate Judge assigned to this case is the Hon.                               .


18.    If, after entry of this Order, the parties consent to trial before a Magistrate Judge, the
       Magistrate Judge will schedule a date certain for trial and will, if necessary, amend this
       Order consistent therewith.


19.    The next case management conference is scheduled for _____________________, at
       ____________. (The Court will set this date at the initial conference.)




SO ORDERED.


Dated: White Plains, New York
       _______________________




                                                     Nelson S. Román, U.S. District Judge
